           Case: 1:20-cv-04893 Document #: 9 Filed: 09/29/20 Page 1 of 68 PageID #:133                         'P
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                        N            UNITED STATES DISTRICT COURT
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             . BRUTO
              T R IC T COURT
                                     NORTHERN DISTRICT OF ILLINOIS
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    Kimberly Jean      Brown             )
                                                                                    THOMAS G. BRUTON
                                                                               CLERK U.S. DISTRICTCOURT
                                      )

                                         )    Case No.


                                         )
                                                                      20-cv{14898
    Michette     Montgomery               )   Judge Judge Andrca R. Wood
                                                  t4isnr# Judge Gabriel A. FuerEs
    Erika   Williams,                     )

    Lila   Goldston,                      )   Magishate Judge:

    JP Morgan Chase Co,        and, )         Jury Trial Demanded

     James D. Montgomery       &.     )

        Associates,    Ltd.           )

                              COMPLAINT - DEFAMATION & OTHER TORTS

                               (28 U.S.C. Section 1332; Diversity of Citizenship)

     PARTIES

           1.   PLAINTIX'B

                Kimberly Jean Brown

                (mailing address only)

                rc268.46th   St, Unit 2E

                Chicago, IL, 60653

                773-673-0324

                Kim@NotByluck.net



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2.   DETENDAI\TTS

     Defendant I

     Michelle Montgomery

     James D. Montgomery   & Associates, Ltd

     33 W. Monroe, Suite 1375

     Chicago,IL 60603

     MMM@JDMLaw.com

     312-977-0200

     ("Defendant Montgomery")




     Defendant 2

     Erika Williams

     JP Morgan Chase Bank


     1204F,.53rd St
                    t*f",; r4S
     Chicago, LL.696+*

     773-24r-5110

     ("Defendant Williams")




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  Defendant 3

  Lila Goldston

  5201 S. Cornell,   Unit   Z6D e9
  Chicago, U 60615

  LilaCroldston@ahoo.com

  ("DeMant Goldston')



  Defendant 4

  JP   Morganchase & Co

  2T0ParkAvenue

  New Yort,   NY       tOO t   1
  4,2.2rc-6w0

  ('Defe'ndant JP Morgan")




  Defendant 5

  James D. Montgomery       & Associates, Ltd

  33 W. Monrce, Suite 1375

  Chicago,IL 60603

  MMM@JDMLaw.com

  3t2-977-0200

  (*Defendant Moatgomery Lauf )




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                                 BASIS FOR JURISDICTION

3. Jurisdiction. This Court has jurisdiction of this matter under 28 U.S.C. Section L332,

   diversity of citizenship.

4. Plaintiff. The plaintiff, Kimberly Jean Brown, is a citizen of the State ofNorth Carolina.

5. Defendants.

       a.    The defendant, Michelle Montgomery ("Defendant Montgomery"), is a citizen           of

             the State of Illinois.

       b.    The defendant, Erika Williams ("Defendant Williams"), is a citizen of the State         of

             Illinois.

       c.    The defendant, Lila Goldston ("Defendant Goldston"), is a citizen of the State      of

             Illinois.   Defendant Montgomery, Defendant Williams and Defendant Goldston

             are hereinafter referred to together as "Defendants."

       d. The defendant, JP Morgan Chase         & Co ("Defendant      JP Morgan"), is incorporated

             under the laws of the state of New York and has its principal place of business in

             the State of New York.

       e.    The defendant, James D. Montgomery & Associates, Ltd. ("Defendant

             Montgomery Law"), is incorporated under the laws of the state of Illinois and has

             its principal place of business in the State of   lllinois. Defendant   JP Morgan and

             Defendant Montgomery Law are hereinafter referred to together as o'Corporate

             Defendants."




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6.    Amount. The amount in controversy is over 575,000. Specifically, Plaintiffseeks an

      amount in excess of $1,389,000 in actual damages, plus statutory, punitive and exemplary

      damages, attonteys' fees and litigation-related costs




                     BACKGROUND & STATEMENT OF'CLAIMS

7.    Plaintiff, an African-American woma& has been an attorney in tllinois for 25 years.

      Most recently, Plaintiff   s   practice was focused on living trust based estate planning for

      middle and lower income individuals. However, Plaintiffhas ceased practicing and is

      unemployed due to the events described herein.

8.    Plaintiff desired to offer high-quality living trust planning to more individuals at lower

      prices. It was that desire which drove Plaintiffto create the Predecessor Company.

9.    Plaintiffdesigned the predecessor to Legacy Complete ("Predecessor Company") in the

      Goldman Sachs 10,000 Small Businesses Program.

10.   In 2014, Plaintiffwon first place in a city-wide business pitch competition for her pitch of

      the Predecessor Company.

11. Plaintiffernbarked on the creation        of living trust software through the Predecessor

      Company   in20l4.

12.In February 2015, Plaintiff began an online fundraiser to raise $25,000 to complete estate

      planning software for the Predecessor Company.

13. One of   Plaintiff s former clients, Dr. Charles V. Hamilton, JD, PhD,learned of the

      fimdraiser and offered to donate the entire $25,000. However, Plaintiffrefused to accept

      the offered $25,000 because Owner Hamilton was a former client of Plaintiff.




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14. Owner Harnilton is a political scientist and was a leader in the     civil rights movement. He

   is most widely known for his book, "Black Power: The Politics of Liberation" written in

   1967 during the height of the   civil rights movement.

15. Plaintiffwas initially intoduced to Dr. Hamilton by Erika Williams ("Defendant

   Williams") who was an agent of Defendant JP Morgan and Dr. Harrrilton's financial

   adviser. Dr. Hamilton together with his living trust are referenced herein as "Owner

   Hamilton."

16. Defendant   Williams received PlaintifPs information from Defendant Williams's

    colleague at the l2O4E.53rd St, Chicago, IL, Chase Bank location of Defendant JP

   Morgan. Defendant JP Morgan's agents and employees at this location,           as   well   as the


    location itself, are referred to together herein as "53rd St Chase".

17. During the years of 2010-2015,   Plaintiffreceived several estate planning client referrals

    from 53rd St Chase.

18. Consistently, clients who were referred to   Plaintifffrom 53rd St Chase reported back to

    53rd St Chase that they were very satisfied with Plaintiff s services. To Plaintiffs

    knowledge, Plaintiffnever received an unfavorable review from 53rd St Chase referrals

    prior to the Disinforrnation Campuigr,   *   later defined herein-

19. Having had an opportunity to review several trusts that    Plaintiffcreated for Defendant JP

    Morgan's customers, 53rd St Chase repeatedly complimented Plaintiffonthe high

    quahty of trusts that Plaintiff prepared and Plaintiffs commiUnent to customer service.

20. In addition to being a forrner clien! Owner Hamilton had become a friend and mentor to

    plaintiff. Owner Hamilton would invite Plaintiffto lunch several times        a   month. Those




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   lunches typically focused on Owner Hamilton's interest in writing a book of essays

   critiquing the civil rights movement which book he tentatively entitled, Lessons Learned.

21. Owner Hamilton wanted Plaintiff s help finding authors for essays from each of the post

   civil-rights generations. Plaintiffhelped Owner Hamilton identifu several individuals,

   from three generations, interested in writing essays for Owner Hamilton's book. Plaintiff

   introduced Owner Hamilton to many of the potential authors during several dinners

   Owner Hamilton hosted at his home.

22. Owner Hamilton introduced Lila Goldston ("Defendant Goldston') to Plaintiffduring

   one of those dinners. Defendant Goldston's business card listed her title as "Consultant"

   and Owner Hamilton intoduced Defendant Goldston as his business manager.

23. Following the dinner at which he introduced Defendant Goldston to Plaintifi Owner

   Hamilton requested that Plaintiff discuss the Predecessor Company, and the capital it

   neede4 with his business manager.

24. Plaintiffagreed and made a formal presentation of Predecessor Company to Defendant

   Goldston. Owner Hamilton was present but remained silent.

25. Following the presentation, Defendant Goldston informed Plaintiffttrat Defendant

   Goldston liked the concept and wanted to invest in the business. However, Defendant

   Goldston stated that she believed Plaintiffneeded to raise more than S25,000 for the

   business to be   viable. Defendant Goldston instructed Plaintiffto draft a proposal

   ("Requested Proposal") which included:

       a.   reorganizing Predecessor Company under a new entity,

       b.   scrapping the existing software, and,




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       c.   completely rebuilding the software.

26. Plaintiff prepared the Requested Proposal and presented it to Defendant Goldston with

   Owner Hamilton present. The Requested Proposal, which included l-year, 3-year and

   7-yew budgets for the new entity (Legacy Complete), estimated that $125,000 would be

   required to meet Defendant Goldston's criteria. The budgets included a line item for

   Plaintiffs compensation which amount averaged $100,000/year plus bonuses.

27. Following Plaintiff s presentation of the Requested Proposal, Defendant Goldston

   contacted Plaintiffand expressed that Owner Hamilton wanted to invest the entire

   $125,000. As conditions, Defendant Goldston required that Plaintiff must agree to the

   following:

       a.   agree to perform the items in the Requested Proposal,

       b.   agree to give Owner Hamilton 25o/o ownership of the new entity, and,

       c.   agree to have a provision in the new   entity's operating agreement that no

            additional investors could be brought into the new entity without Owner

            Hamilton's approval.

28. Initially, Plaintiff remained hesitant to move forward with Owner Hamilton because       of

   several conflicts of interest. Plaintiffdiscussed her conflicts of interest with Defendant

   Goldston, with Owner Hamilton present:

       a.   thatthe owner of the Predecessor Company was Plaintiff      s   family trust ("Owner

            BW Trust"),

       b.   that Plaintiffwas the trustee of Owner BW Trust




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       c.   that Plaintiffwas the manager of the Predecessor Company and she would also be

            the manager of the new entity, and

       d.   ttrat Owner Hamilton was Plaintiffs former estate planning client.

29.In addition, Plaintiffdiscussed that   she was hesitant because Owner Hamilton was a


   former client in his eighties. Although Owner Hamilton showed no sign of cognitive

   decline and was, at the time, writing two books and outlining athird, Plaintiffwas

   concerned about accepting an invesfrnent who was a former client.

30. Plaintiffgave Defendant Goldston a memorandum of understanding which outlined

   Plaintiffs concefirs ("Conflicts Letter") and asked Defendant Goldston to discuss them

   further with Owner Hamilton privately.

31. To overcome Plaintiff s objections, Defendant Goldston explained that, unbeknownst to

   Plaintifi Owner Hamilton    desired to invest in up to five woman-owned businesses to

   honor his late daughter who was an entepreneur. Defendant Goldston stated that her

   business and Defendant   Williams' were the first recipients of Owner Hamilton's

   woman-owned business investments.

32.lnaddition, Defendant Goldston mentioned that Owner Hamilton wanted to amend his

   estate planning to fund a foundation to support women-owned businesses.


33. Although Plaintiff thought the foundation was a good idea, Plaintiffreminded Defendant

   Goldston that Plaintiff would not be able to act as Owner Hamilton's attomey if Plaintiff

   accepted Owner Hamilton's offer to invest.

34. Ultimately, Plaintiff accepted Owner Hamilton's offer with three stipulations:




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       a.   Plaintiffrequired that Defendant Goldston, his business manager, be the point of

            contact for Owner Hamilton's investrnent,

       b. Plaintiffinsisted that Owner Hamilton not input the entire $125,000 of capital

            into Legacy Complete in one lump sum, but instead input the capital as needed,

            and only after Defendant Goldston reviewed and approved all of       Plaintiffs

            previous expenditures, and,

            Plaintiffinsisted on hosting monthly progress meetings so that Plaintiff could

            update Defendant Goldston and Owner Hamilton.

35. Defendant Goldston agreed to Plaintiffs terms and Legacy Complete was formed in May

   2015.

36. Unfortunately, a few days later, Owner Hamilton's wife of more than       fiffy   years died.

   Plaintiffcontacted Owner Hamilton to extend PlaintifPs condolences. Plaintiffalso

   contacted Defendant Goldston and offered to cancel Owner Hamilton's investment              if
   Owner Hamilton desired to cancel       it. Defendant   Goldston spoke to Owner Hamilton and

   Owner Hamilton expressed that he was more interested than ever in moving forward with

   Legacy Complete.

37.Legacy Complete was formed in Nevada as a limited liability company on May              14,24$

   as Entity Number 80239522015-0 and Business            ID In/20151304824 ('t{evada

   License"). The Nevada License was revoked in May 2017 for failure to submit an annual

   statement and pay the required fee.




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       a.   Legacy Complete has not been fornally dissolved and remains owned as follows:

            25% by Owner Hamilton and7l%o by the Brown Washington Trust ("Owner BW

            Trust").

38. Shortly after formingLegacy Complete, Plaintiffrealizndthat she neglected to account

   for the repayment of the existing debt on the Predecessor Company in the budgets

   Plaintiffhad provided to Defendant Goldston. The existing debt amounted to $35,000

   loaned to the Predecessor Company by    Plaintiffs friends   and family.

39. Plaintiffcontacted Defendant Goldston to discuss Plaintiff s oversight. Plaintiff and

   Defendant Goldston agreed that, to avoid depleting capital, Plaintiff s compensation

   would temporarily be deferred to repay the loans. Accordingly, a significant percentage

   of the compensation that was due to Plaintiffwas used to repay the Predecessor

   Companyos unpaid debt.

40. Plaintiffand Defendant Goldston also agreed that once an accountant was hired, the

   accountant would determine how to account for the debt and pay Plaintiffs deferred

   salary. However, due to Legacy Complete's financial situation, the hiring of an

   accountant was delayed until after Legacy Complete had fully launched which never

   happened.

41. Although an accountant was never employed, Plaintiffprepared and provided to

   Defendant Goldston fully reconciled financial accounts, using Quickbooks, for each       of

   Legacy Complete's bank accounts, and delivered the reconciled accounts to Defendant

   Goldston monthly and annually. In addition, Plaintiffprovidedto Defendant Goldston




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   the ledger that Plaintiffkept of expenses Plaintiffpaid from her personal bank accounts

   on Legacy Complete's behalf.

42. Owner Hamilton had fulI access to each of Legacy Complete's bank accounts and

   Defendant Goldston had the ability to independently audit Legacy Complete's financial

   accounts.

43. Plaintiffhad the opportunity to observe the interactions between Owner Hamilton and

   Defendant Goldston while Owner Hamilton's wife was alive and after Owner Hamilton's

   wife's passed a'way. After Owner Hamilton's wife died, Plaintiffnoticed five types of

   concerning behaviors:

       a     It appeared that Defendant Goldston ignored Owner Hamilton's desires in favor

             of Defendant Goldston's own wishes,

       b.    It appeared   as   if Defendant Goldston wanted Owner Hamilton to become

             dependent on Defendant Goldston,

             It appeared as if Defendant Goldston wanted control over Owner Hamilton's

             finances and memorabilia during and after his life,

       d.    It appeared   as   if Defendant Goldston wanted to surround Owner Hamilton with

             only the people she selected,

       e.    It appeared   as   if Defendant Goldston   was   willing to cause the loss of Owner

             Hamilton's investnent in Legacy Complete to further Defendant Goldston's own

             interests.




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44. Plaintiffdiscussed her concerns with Defendant Goldston and Owner Hamilton together.

   Plaintiffemphatically requested that Owner Hamilton have an attomey work along side

   of Defendant Goldston.

45. The relationship between Defendant Goldston and Plaintiffbecame more contentious.

   Defendant Goldston refused to take required action with respect to Legacy Complete,

   knowing that refusing to take action would jeopardize the future of Legacy Complete.

46. Because of Defendant Goldston's actions/inactions, Plaintiffrequested that Owner

   Hamilton's ownership share be converted to a loan. Converting his ownership share to a

   loan would give LegacyComplete the ability to raise much-needed capital.

4T.Inaddition, Plaintiffinsisted that Owner Hamilton hire an attorney to work on Owner

   Hamilton's behalf.

48. Owner Hamilton expressed to Plaintiffthat he, Owner Hamilton, wanted Plaintiffto keep

   the money he invested and pay it forward after Legacy Complete was a success. Plaintiff

   responded that she refused to take $25,000 as a gift, and she definitely could not and

   would not convert the $125,000 in capital to a gift.

49. When Plaintiff continued to refuse to accept the capital as a gift, Owner Hamilton agreed

   that his ownership interest could either be converted into a loan or Plaintiffcould find

   someone to buy Owner Hamilton's share. Owner Hamilton left the choice to Plaintiff.

   Plaintiffrequested thatthey move forward converting Owner Hamilton's ownership into

   debt.




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50. In approximately August 2015, Defendant Goldston and/or Owner Hamilton hired

   Defendant Montgomery to be Owner Hamilton's attorney. Defendant Montgomery is a

   partner at James D. Montgomery & Associates, Ltd ('Defendant Montgomery Lau/').

51. Plaintiffand Defendant Montgomery went to the same law school and were in the same

   graduating class. Although they knew of each other, they never had any significant

   interaction prior to this representation.

52. During one of their fust communications, Plaintiffshared with Defendant Montgomery

   that Plaintiffwas concerned about Defendant Goldston's interactions with Owner

   Hamilton and asked Defendant Montgomery to observe their interactions and take any

   necessary actions.

53. Defendant Montgomery replied that she was not concerned about their interactions and

   that she was hired to clean up the mess Plaintitrhad created.

54. Plaintiffinquired to which mess Defendant Montgomery was referring.     Plaintiff

   expressed to Defendant Montgomery that      if Defendant Montgomery thought Plaintiff

   acted unethically in any way, Defendant Montgomery was obligated to submit a

   complaint to the Illinois Attorney Review and Discipline Commission ("ARDC").

   Defendant Montgomery responded that she is on the ARDC, and she knows her

   obligations.

55. Defendant Montgomery did not file an ARDC complaint. However, Plaintiff filed an

   ARDC complaint requesting that both Plaintiffs actions and Defendant Montgomery's

   actions be reviewed by the ARDC. The ARDC "determined not to initiate an




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   investigation" with respectto Plaintiffs conduct. (EXHIBIT 1). The review has not

   concluded with respect to Defendant Montgomery.

56. In August 2015, Plaintiffsent an       initial draft of the proposed ownership conversion

   documents to Defendant Montgomery. Defendant Montgomery responded. There were

   several iterations of edits and   it   seemed as   if the parties were close to reaching an

   agreement in October 2015.

57. Defendant Montgomery included a provision in a draft of the conversion documents

   which Defendant Montgomery and Plaintiffdisagreed on its interpretation.

58. While on a call, Defendant Montgomery emphatically insisted that Plaintiffwas

   misinterpreting the provision. Plaintiffread the provision aloud. As Plaintiffread the

   provision, Defendant Montgomery snapped at Plaintiffstating that Defendant

   Montgomery could read and did not need the provision read to her. Plaintiffapologized

   and shared with Defendant Montgomery that Plaintiffhas a leaming disability and

   sometimes needs to read provisions aloud. Attorney Montgomery responded, "Oh, I

   didn't know you were stupid." Attorney Montgomery later sent an email obfuscating her

   *stupid" comment. (EXHIBIT 2)

59. By December 2015, it was clear that Plaintiff and Defendant Montgomery were not going

   to reach an agreement. Defendant Montgomery offered to keep the status quo.

60. In addition, in December 2A15, it became clear that the flrst software developer that

   Legacy Complete hired would not complete the software as contracted. Legacy

   Complete had paid the developer $30,000 and worked with the contractor several months

   prior to the developer breaching its contract. The breach by the first developer




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    significantly impacted Legacy Complete's timeline to launch and significantly depleted

   its capital.

61. Plaintiffselected a second software developer, Bellwether Creation Company

   ("Bellwethero), which company began working to complete the software in January

   2016. Legacy Complete tried to launch the patched software in or about March 2016.

   However, the patched software was so flawed that the attempted launch was scraped.

62.Plafurtlff continued to try to raise capital for Legacy Complete. In20l6, Plaintiff

   repeatedly sent the attached proposed conversion documents to Defendant Montgomery.

   (EXHIBIT 3). In addition, Plaintiffheld an emergency meeting and identified the

   options available to Legacy Complete to raise capital. (EXHIBIT 4) Defendant

   Montgomery refusedto move forward with any of the options. (DC{IBIT 5). Legacy

   Complete ran out of operating capital.

63. To avoid a firll shutdown, Plaintiffcreated   a   joint venture between Legacy Complete and

   Bellwetherto complete the software. Plaintiffworked, without compensation, for 70-80

   hours a week for nearly ayeat, to help Bellwether complete Legacy Complete's software.

64. Plaintiffreceived net compensation from Legacy Complete and the joint venture of

   approximately $11,000 (eleven thousand dollars) for working firll-time for neady two

   yea.rs.


65. Due to not receiving the compensation promised by Legacy Complete, Plaintiffwas

   forced to sell her home of 15 years.

66. Legacy Complete was vulnerable because it had no capital. Exploiting that vulnerability,

   Bellwether kept Legacy Complete's software for itself in approximately August 2016.



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67. Plaintiffbrought a lawsuit against Bellwether for unjust enrichment for her

   uncompensated work (Brown v. Bellwether, et al, Cook County,       Illinois, Circuit Court,

   2017L000203) (E)A{IBIT 6). Plaintiffwas awarded ajudgement of more than $400,000

   against Bellwether by the court. However, Plaintiffhas not been able to collect any of the

   judgement as Bellwether has been dissolved.

68. Because of the actions of Defendants and their agents, Plaintiffis currently unemployed

   and unable to earn a living.




                                       CLAIM    OI\TE


    TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONSIilP

69. Plaintiffre-alleges the allegations set forth herein and incorporates the same by reference.

70. Defendants knew that Plaintiffwas due compensation from Legacy Complete.

71. Defendants knew that Legacy Complete would be unable to perform its compensation

   obligation to Plaintiffif Owner Hamitton did not perform the obligations under Legacy

    Complete' s operating agreement.

72. Based on information and belief, Defendants advised Owner Hamilton to ignore his

    obligations to Legacy Complete which caused Legacy Complete to default on its

    obligations to Plaintiff.

73. Plaintiffhas expedenced extreme financial hardship due to her compensation not being

    paid by Legacy Complete.

74.Tlte actions of Defendants are the actual & proximate cause of harm to Plaintiff.




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75. Accordingly, Defendants and Corporate Defendants are liable to Plaintiffin excess         of

   $1,389,000 in actual damages. Defendants and Corporate Defendants are also liable to

   Plaintifffor statutory, compensatory, punitive   and exemplary damages, attorneys' fees

   and litigation-related costs.




                                       CLAIM TWO

                                      DEFAMATION

76. Plaintiffre-alleges the allegations set forttr herein and incorporates the same by reference.

TT.Basedon information and belief, beginning in 2015 and continuing to present day, the

   Defendants have made false statements about Plaintiff purporting those false statements

   to be fact. Those false statements include, but are not limited to, stating that Plaintiff

   took advantage of an elderly client and manipulated him to invest in her business.

78. Based on information and belief, Defendants and/or agents working on behalf          of

    Defendants ("Agents"), launched a disinformation campaign designed to destroy

    Plaintiffs reputation and to prevent Plaintifffrom being able to earn   a   living

    ('Disinformation Campai gn").

79. Based on information and belief, Plaintiffbelieves the Disinformation Campaign

    includes, but is not limited to, creating and circulating deep fake videos of Plaintiff.

80. Based on information and    beliel Defendants   and their Agents intentionally spread the

    Disinformation Campaign to incite vigilantes ('Vigilantes') to harass, harm and/or

    tenofize Plaintiff.




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81. The false statements and Disinformation Campaign have destroyed         Plaintiffs reputation

   and have caused Plaintiffextreme emotional distress.

82. The actions of the Defendants are the actual & proximate cause of harm to Plaintiff.

83. Accordingly, Defendarts and Corporate Defendants are liable to Plaintiff in excess           of

   $1,389,000 in actual damages. Defendants and Corporate Defendants are also liable to

   Plaintifffor statutory, compensatory, punitive      and exemplary damages, attorneys' fees

   and litigation-related costs.




                                      CLAIM THREE

                              INTRUSION ON SECLUSION

84. Ptaintiffre-alleges the allegations set forth herein and incorporates the same by reference.

85. In 2018,   Plaintiffleft Chicago in an attemptto   escape the Disinformation   Campaigl and

   build   a new   life.

86. Based on information and belief, Defendants and/or their Agents would converge on

   Plaintiffs location and spread the Disinformation Campaign. Defendants andlor their

   Agents made it impossible for Plaintiffto build new relationships, retain existing

    relationships or establish a new life.

8?. Defendants' intrusions on Plaintiff s seclusion were in a manner that would be

    objectionable to a reasonable person.

88. The actions of the Defendants are the actual & proximate cause of hamr to Plaintiff.

89. Accordingly, Defendants and Corporate Defendants are liable to        Plaintiffin   excess   of

    $1,389,000 in actual damages. Defendants and Corporate Defendants are also liable to




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    Plaintifffor statutory, compensatory, punitive    and exemplary damageso attorneys' fees

    and litigation-related costs.




                                        CLAIM T'OUR

                                       T.ALSE LIGHT

90. Plaintiffre-alleges the allegations set forth herein and incorporates the same by reference.

91. Based on information and beliefl Defendants publicly disclosed the information that

    Plaintiffs former client, a leader in the civil rights movement, invested $125,000 in

    Plaintiff s business. Defendants then used that information to paint Plaintiff in a false

    light in several ways, including but not limited to:

       a.    leading people to believe that Plaintiffacted unethically with Owner Hamilton,

       b.    leading people to believe that Plaintiffexerted influence over an elderly person to

             coerce a monetary investment

       c.    leading people to believe that Plaintiffis deceitful,

       d.    leading people to believe that Plaintifftargets her client, and,

       e.    contacting some of Plaintiff s past clients to inquire into whether Plaintiffacted

             inappropriately with them.

92. Based on infonnation and belief, Defendants' disclosures were made with malice and

   intentionally placed Plaintiffin a false light; and

93. The false light in which Plaintiffis painted would be highly offensive to a reasonable

   person.

94. The actions of the Defendants are the actual & proximate cause of harm to Plaintiff.




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95. Accordingly, Defendants and Corporate Defendants are liable to Plaintiffin excess            of

    $1,389,000 in actual damages. Defendants and Corporate Defendants are also liable to

    Plaintifffor statutory, compensatory, punitive       and exemplary damages, attomeys' fees

   and litigation-related costs.




                                            CLAIM FIYE

                     FRAT}D IN COT\INECTION TO COMPUTERS

96. Plairtiffre-alleges the allegations set forth herein and incorporates the same by reference.

97. Based on information and belief, beginning         in20l6   and continuing to the present,

   Defendants and/or their Agents, knowingly, and with intent to defraud, repeatedly

   accessed   Plaintilf   s   electronic devices without Plaintiff s authorization.

98. By means of such conduct the intended fraud was furthered and objects of value have

   been obtained.

99. As a result of such conduc! Plaintiff s devices have been damaged and her data stolen,

   deleted or comrpted.

100.   The actions of the Defendants are the actual & proximate cause of harm to Plaintiff.

101.   Accordingly, Defendants and Corporate Defendants are liable to Plaintiff in excess of

   $1,389,000 in actual damages. Defendants and Corporate Defendants are also liable to

   Plaintifffor statutory, compensatory, punitive        and exemplary damages, attorneys' fees

   and litigation-related costs.




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                                      CLAIM SIX

                                    WIRETAPPING

102.   Plaintiffre-alleges the allegations set forth herein and incorporates the same by

   reference.

103.   Based on information and    betiel beginning in20l6   and continuing to the present,


   Defendants and/or their Agents, have intentionally and repeatedly intercepted Plaintiffs

   electronic communications without Plaintiff s authorization.

104.   Based on information and belief,   Plaintiffs devices were forced to   connect to private


   closed internet networks through which Defendants and/or their Agents intercepted and

   monitored Plaintiff s communications.

105.   Plaintifflost significant amounts of data and suffered extreme emotional distress

   because of the unauthorized interceptions.

106.   The actions of the Defendants are the actual & proximate cause of harm to Plaintiff.

107. Accordingly,    Defendants and Corporate Defendants are liable to Plaintiff in excess    of

   $1,389,000 in actual damages. Defendants and Corporate Defendants are also liable to

   Plaintifffor statutory, compensatory, punitive   and exemplary damages, attotneys' fees


   and litigation-related costs.




                                     CLAIM SEYEN

                             OBSTRUCTION OF JUSTICE

108. Plaintiffre-alleges the allegations   set forth herein and incorporates the same by


   reference.




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109.   Based on inforrration and belief, beginning in 2016 and continuing to the present,

   Defendants or their Agents, intentionally and repeatedly deleted data from Plaintiffs

   devices which included evidence relevant to judicial proceedings in Cook County,    Illinois

   and Wake County, North Carolina.

110.   Based on information and belief, Defendants were aware of the proceedings.

111.   Based on information and belief, Plaintiffbelieves Defendants had comrpt intent to

   interfere with the proceedings.

ll2.   The actions of the Defendants are the actual & proximate cause of harm to Plaintiff.

I13.   Accordingly, Defendants and Corporate Defendants are liable to Plaintiffin excess of

   $1,389,000 in actual damages. Defendants and Corporate Defendanls are also liable to

   Plaintifffor stahrtory, compensatory, punitive   and exemplary damages, attorneys' fees

   and litigation-related costs.




                                     CLAIM EIGHT

            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

114. Plaintiffre-alleges the allegations   set forth herein and incorporates the same by


   reference.

115. Based on information      and belief, Defendants knew that the actions they took would

   cause   Plaintiffto have extreme emotional distress.

116.   Based on information and belief, Defendants' conduct was intentional, extreme and

   outageous.
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ll7.    Based on information and   beliel Plaintiffhas suffered,   and continues to suffer,


   extreme emotional distress because of Defendants' conduct.

I18.    The actions of the Defendants are the actual & proximate cause of harm to Plaintiff.

119. Accordingly,    Defendants and Corporate Defendants are liable to Plaintiff in excess    of

   $1,389,000 in actual damages. Defendants and Corporate Defendants are also liable to

   Plaintifffor statutory, compensatory, punitive   and exemplary damages, attomeys' fees


   and litigation-related costs.




                                      CLAII\{ NINE

                          HOSTILE WORK ENYIRONMENT

120.    Plaintiffre-alleges the allegations set forth herein and incorporates the same by

   reference.

l2l.    Based on information and belief,   Plaintiffwas discriminated against based on her

   learning disability.

122.    Based on information and belief,   Plaintiffwas subjected to an intimidating

   environment created by Defendant Montgomery and Defendant Goldston who were

   agents of Owner Hamilton.

123.    Based on information and   belief Plaintiffwas   subjected to ofFensive behavior


   including, but not limited to, being referred to more than once as "stupid."

 124.   Moreover, Plaintiffwas forced to work extremely long hours without compensation.

 125.   Plaintiff suffered extreme mental and emotional abuse because of the hostile

   environment.




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126. The actions of the Defendants are the actual & proximate cause of harm to Plaintiff.
127.   Accordingly, Defendants and Corporate Defendants are liable to Plaintiff in excess of

   $1,389,000 in actual damages. Defendants and Corporate Defendants are also liable to

   Plaintifffor statutory, compensatory, punitive     and exemplary damages, attorneys' fees

   and litigation-related costs.




                                           CLAIM TEN

                   PUBLIC DISCLOST'RE OF PRTVATE TACTS

128. Plaintiff re-alleges the allegations     set forth herein and incorporates the same by


   reference.

129.   Based on information and belief, Plaintiffbelieves that Defendants or their Agents

   publicized a private fact regarding the private life of Plaintiff which fact they acquired

   from accessing files on Plaintiff   s   phone.

130.   The private fact is that Plaimtiff s genitals were disfigured during childhood. This is

   visible in a photo which was taken during a medical consultation. The photo was stored

   on Plaintiff's phone.

131. Based on information     and belief, the Defendants or their Agents acquired the photo

   when they breached Plaintiff s phone.

132.   Based on information and    beliel Defendants     and their Agents circulated the photo

   without Plaintiffs permission in an effort to further humiliate Plaintiff.

133. The private fact was not newsworthy and was not a legitimate public matter.




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134.   Publicizing that particular private fact would be highly offensive to a reasonable

   person.

135.   Plaintiffs suffered extreme emotional distress.

136.   The actions of the Defendants are the actual & proximate cause of harm to Plaintiff.

137.   Accordingly, Defendants and Corporate Defendants are liable to Plaintiff in excess of

   $1,389,000 in actual damages. Defendants and Corporate Defendants are also liable to

   Plaintifffor statutory, compensatory, punitive   and exemplary damages, attorneys' fees

   and litigation-related costs.




                                     CLAIM ELEVEN

                             COPYRIGHT INFRINGEMENT

138.   Plaintiffre-alleges the allegations set forth herein and incorporates the same by

   reference.

139.   Plaintiffowns the copyright to the photo referenced in Claim Ten which photo was

   stored on    Plaintiffs phone.

140. Based on information       and belief, Defendants did not have the rights necessary to

   distribute the photo and their distribution violated the Copyright Act.

141. Having violated Plaintiffs      rights, Plaintiffis entitled to statutory damages provided

   by the Copyright Act.

142.   Accordingly, Defendants and Corporate Defendants are liable to Plaintiff in excess of

   S1,389,000 in actual damages. Defendants and Corporate Defendants are also liable to




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   Plaintiff for statutory, compensatory, punitive and exemplary damages, attorneys' fees

   and litigation-related costs.




                                       CLAIM TWELVE

                                    CIVIL CONSPIRACY

143. Plaintiffre-alleges the allegations      set forth herein and incorporates the same   by

   reference.

144.   Based on information and belief, Defendants made an agreement to perform the overt

   acts referenced in the Claims herein in pursuance of a conspiracy.

145. Based on information         and belief, Defendants and their Agents performed the agreed

   upon overt acts.

146.   Based on information and belief, Plaintiffbelieves the Defendants, their Agents

   and/or the Vigilantes have been responsible for the following acts, including, but not

   limited to:

       a.   Plaintiffhas received death threats and numerous attempts to harm her;

       b.   Plaintiffhas had   a gun   pulled on her;

       c.   Plaintiffhas been pushed into moving traffic;

       d.   Plaintiffhas been threatened by police officers;

       e.   Plaintiffhas had police officers storm into her hotel room while Plaintiffwas

            partially naked, then she was forced to her car;

       f.   Plaintiff s devices have been repeatedly hacked and Plaintiff s files have been

            deleted or altered;




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       g.    Plaintiff s calls and emails have been repeatedly routed away from Plaintiff;

       h.    Plaintiffs email addresses and phone numbers have been hacked and used to

             impersonate    P   laintiff;

       i.    Plaintiff s online appoinfinents and contact book information have been changed

             and deleted;

       j.    Plaintiffs temporary places of residence have been burglarized;

       k.    PlaintifPs vehicle has been tampered with;

       l.    Plaintiffhas been confronted by groups of individuals whom she did not know,

             including but not limited to, Alabama, Georgia, North Carolina and Illinois. In

             addition, angry individuals accused Plaintiffof having stolen money from an

             elderly civil rights leader.

147.   Plaintiff suffered damages as a result of the acts Defendants, and their Agents,

   performed in furtherance of the conspiracy.

148. The actions of the Defendants are the actual & proximate cause of harm to Plaintiff.
149.   Accordingly, Defendants and Corporate Defendants are liable to Plaintiff in excess of

   $1,389,000 in actual damages. Defendants and Corporate Defendants are also liable to

   Plaintifffor statutory, compensatory, punitive   and exemplary damages, attorneys' fees

   and litigation-related costs.




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                                  CLAIM THIRTEEN

                              YICARIOUS LIABILITY

150. Plaintiffre-alleges the allegations   set forth herein and incorporates the same   by

   reference.

151. Based on information    and belief, several of the Defendants' overt acts occurred

   within locations operated by Defendant JP Morgan and were committed by agents of

   Defendant JP Morgan who were acting within their agency responsibilities.

152.   Since the agents of Defendant JP Morgan were operating within the scope of their

   duties, Defendant JP Morgan is vicariously liable for the acts of its agents.

153. Based on information    and behee several of the overt acts occurred within locations

   operated by Defendant Montgomery Law and were committed by an agent of Defendant

   Montgomery Law who was acting within her agency responsibilities.

154.   Since the agent of Defendant Montgomery Law was operating within the scope of her

   duties, Defendant Montgomery Law is vicariously liable for the acts of its agent.

155.   Based on information and belief, Defendants and their Agents launched a

   Disinfomration Campaign designed to recruit Vigilantes to target, harass and terrorize

   Plaintiff.

156. Based on information    and belief, the Vigilantes and Agents were incited by the

   Disinformation Campaigrr, called to action by the Defendants and acted on the

   Defendants' behalf. Therefore, the Defendants and the Corporate Defendants are

   vicariously liable for the actions of the Agents and Vigilantes.




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157.   Accordingly, Defendants and Corporate Defendants are liable to Plaintiff in excess of

   $1,389,000 in actual damages. Defendants and Corporate Defendants are also liable to

   Plaintiff for stafutory, compensatory, punitive and exemplary damages, attorneys' fees

   and litigation-related costs.




                                    PRAYER FOR RELIEF

       ACTUAL, STATUTORYN PUIUTTYE A}ID EXEMPLARY DAMAGES

158.   Plaintiffrespectfully submits that Defendants and Corporate Defendants are liable to

   Plaintiff for actual, statutory, compensatory, punitive and exemplary damages, attorneys'

   fees and litigation-related costs as set forth herein.

159.   Plaintiffrespectfrrlly requests her actual damages which Plaintiffwill prove at trial

   and Plaintiff estimates as   $   1,389,000-


160.   Plaintiffrespectfully requests the statutory amount of damages for violating

   PlaintifPs copyright as set forth in Claim Eleven.

161.   Plaintiffrespectfully requests compensatory, punitive and exemplary damages

   cornmensurate with the severity of Defendants' actions in an amount of no less than

   $50,000,000.

162.    Plaintiffrespectfully requests an amount equal to Plaintiffs attorney's fees and

   litigation-related costs.




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                               CERTIFICATION AND CLOSING

Under Federal Rule of Civil Procedure I   l, by signing below, I certif        to the best of my

knowledge, information and belief that this complaint:

       (l)   is not being presented for an improper pulpose, such as to harass, cause unnecessary

       delay, or needlessly increase the cost of litigation;

       (2) is supported by existing law or by a non-frivolous argument for extending, modiffing,

       or reversing existing law;

       (3) the factual contentions have evidentiary support or,     if specifically   so identified,   will

       likely have evidentiary support after   a reasonable    opportunity for further investigation or

       discovery; and

       (4) the complaint otherwise complies with the requirements of Rule 11.

I agree to provide the Clerk's Office with any changes to my address where case-related papers

may be served. I understand that my failure to keep a current address on file with the Clerk's

                    in thg/ismissal of my case.

                                                               on this August 20,2020




1026 E. 46th St, Unit 2E

Chicago,IL 60653

(773) 673-0324

Kim@NotByLuck.net




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EXHIBITS

Exhibit 1: Letter from ARDC

Exhibit   2: Screenshot   of "Stupid" comment

Exhibit 3: Draft of proposed loan documents

Exhibit 4: Emergency Meeting Minutes

Exhibit 5: Letter from Attorney Montgomery May 620rc

Exhibit 6: Complaint against web developer




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